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Page 1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA
WESTERN DIVISION

 

NUSTAR FARMS, LLC,
ANTHONY NUNES, JR., AND
ANTHONY NUNES, III,
Plaintiffs, Case No.

5:20-cv-04003-CUW-
vs. MAR
RYAN LIZZA, HEARST
MAGAZINE MEDIA, INC.,

Defendants.

 

ZOOM VIDEOTAPED DEPOSITION OF DEVIN NUNES
Tulare, California
Tuesday, August 10, 2021

Volume I

Reported by:
LORI M. BARKLEY CSR No. 6426
Job No. 4751278

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 1 of 21

 
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Page 195

(Recess taken.)

VIDEO OPERATOR: We are now back on the record.
The time is 4:28 p.m.

MR. DONNELLAN: Congressman, that's all the
questions that I have for you today.

I am going to leave the deposition open subject
to, you know, taking up with the court, some of the
questions that you have either declined to answer or
have not answered on the basis of privilege or
otherwise, but that's going to be all for today.

THE WITNESS: Well, I've answered all your
questions, so I'm not sure what you would take up with
the court, but...

MR. DONNELLAN: Thank you very much for your
time.

MR. BISS: Okay, I've got just a couple of
questions to follow up on some of the things that were
asked during the deposition today, and let me see if I

can do this as smoothly as possible.

EXAMINATION
BY MR. BISS:
Qs Counsel asked you during the deposition whether
you had ever listened to the audiotapes that Mr. Lizza

produced. I think you said no. I want to play two of

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 2 of 21

 
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Page 196

those audiotapes for you and get your response --

MR. DONNELLAN: Hold on, Steve, I'll object to
that. That goes beyond the scope of my examination. I
did not ask the Congressman today about any matters that
were covered by the protective order in this case, and
he did not testify as to the substance of any matters
covered by the protective order in this case, and I want
it to stay that way.

So, that's beyond the scope of the examination,
so I object to any attempt to introduce to him or to
expose him to any of the evidence that's covered by the
protective order.

MR. BISS: All right, that's -- that's -- I
fully understand why you're making that objection. I
fully understand why you don't want to have him hear
these tapes. I think it will -- it will upset him more
than your questions have upset him today.

But you've asked him multiple times today, you
asked him about the audiotapes. You also asked him
about the sources. And so, it's absolutely fair game
for me to ask him --

MR. DONNELLAN: It is not fair game. Steven,
it's not fair game. And you can't unscramble the egg,
so I would say that we take this -- if you want to take

this up with the court, we take it up with the court,

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 3 of 21
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Page 197

but it's totally inappropriate. We have not asked him
to sign a protective order. He has not signed a
protective order. And it is beyond the scope of the
testimony that I elicited and I asked for, and so I
object to this and I will -- I will take great exception
if you try to proceed. I'm going to end the deposition.

MR. BISS: Why don't you want him to hear what's
on the tapes? What are you afraid of?

THE WITNESS: Aren't I the one being deposed,
doesn't my lawyer have a right to ask me questions? You
get to end it without my lawyer having time to ask me
questions, is that how this works?

MR. DONNELLAN: It's beyond the scope of the
examination and it's evidence that you are not entitled
to hear, Congressman.

MR. BISS: Why isn't he entitled to hear it?

MR. DONNELLAN: It's governed by the protective
order.

MR. BISS: He can sign the witness assurance
declaration, just like everyone else.

MR. DONNELLAN: Well, this is our deposition, we
called the deposition, and we have not asked about any
evidence that is covered, and it's completely beyond the
scope of the direct examination, so it's inappropriate.

You should take it up with the court if you feel that

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 4 of 21

 
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Page 198

strongly about it, Steve.

MR. BISS: I just don't understand how you could
possibly think that's a valid objection, how you could
possibly think that you can stop a witness from
listening to an audiotape that you referred to expressly
on your direct examination. You examined this witness
and you referred to the audiotapes. You also --

MR. DONNELLAN: No, I didn't. All I did was ask
him if he had heard them, and he said no.

THE WITNESS: You also asked me about some
documents, and I said no, I'd like to see them. So, I
have that on my testimony to you, that I would like to
see them. If they exist, what you're asking me, I have
every right to see them. If not, there needs to be
transparency in this process. Because if you're hiding
something from me, like you hid my response of my
subpoena, that's completely outrageous. You can't do
that.

MR. DONNELLAN: Steven, if you look at --

THE WITNESS: You have to show me. You brought
it up. If they exist, I get to see them. You don't get
to ask me questions about things that you know and that
I don't. You did it once, you got caught, now you're
doing it again. So, now I find out there are audiotapes

and there's -- are there documents? What kind of

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 5 of 21

 
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Page 199

documents have I not seen for this -- for this --

MR. BISS: You chose to depose this witness.
You opened the door. You --

MR. DONNELLAN: No, I did not. No, I did not,
Steve --

MR. BISS: Absolutely, you did.

MR. DONNELLAN: No, I did not --

MR. BISS: Absolutely, you did.

(Speaking simultaneously)

MR. BISS: Now you want to make sure that he
doesn't get to see that the -- gets to hear what's on
those audiotapes. You've listened to the audiotapes.
You know what's on them.

MR. DONNELLAN: If you go to the protective
order, paragraph 8E, that during the deposition
witnesses in the action to whom disclosure is reasonably
necessary shall be given access to the materials. It's
not reasonably necessary. I asked him if he'd heard
them. He said no. That's the end of it.

MR. BISS: That's not reasonable --

MR. DONNELLAN: It's not reasonably necessary to
play them.

THE WITNESS: Wait, I object to that. I have a
right, this is my deposition, I totally object to that.

They definitely -- I do have a reason to know. You've

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 6 of 21

 
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Page 200

sat on this deposition going through conspiracy theory
after conspiracy theory after conspiracy theory, whether
it's who's paying lawsuits, or frivolous ethics
violations, and then you do that bogus little game on me
where you show me a subpoena and then play some game
like I haven't complied, and now I find out that you had
it sitting next to you there as one of the exhibits.

You asked me if I had seen some type of
documents. I said no, but I'd like to see them, if I
want to see Lizza's notes or something like that. If
there's notes you're damn right I want to see them. And
it's wrong, it's not transparent, it's totally corrupt,
and I'm going to go to the judge. I want to go to the
judge myself. And I'm not ending this deposition. I
want Steve to continue to ask me questions.

MR. BISS: You asked him a question --

(Speaking simultaneously)

THE WITNESS: Who do the hell do you think you
ane?

MR. BISS: Jon, you asked him questions about
the article. You asked him questions about illegal
immigration. You spent hours --

(Speaking simultaneously)

MR. BISS: You talked about the audiotapes. You

used every single word to open the door here for me to

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 7 of 21
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Page 201

ask him questions about that. You asked him about his
family, about the operation of the farm.

And the fact that you don't want these
audiotapes made public is -- it's beyond alarming. This
is a matter of extreme public concern. The public --

MR. DONNELLAN: Steve, you are using this --
look, you are using this to try to -- to try to publicly
disclose these and to try to expose them to a witness.
It's not reasonably necessary, it's not appropriate
under the order. And to play them right now would be a
violation of the order and I would move for sanctions
and move to hold you in contempt.

MR. BISS: You're not going to scare me with
your threats.

MR. DONNELLAN: I don't care whether I'm scaring
you or not. I'm just putting you on notice.

(Speaking simultaneously)

MR. BISS: Go write an article about it, tell
the Fresno Bee, go write an article --

MR. DONNELLAN: We should take it up with the
judge because this is a very serious step that you're
proposing to take. It's a violation of the protective
order. It's beyond the scope of the examination. You
can make your choice, but I would end this deposition

right now because this is absolutely inappropriate.

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 8 of 21

 
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Page 202

MR. BISS: You're trying to conceal material
information from the public. That's what you're trying
to do. You're trying to assure that the public knows
your half of the story.

MR. DONNELLAN: If you would like to go to the
court and make a motion, you should do it.

MR. BISS: (Speaking simultaneously) .

MR. DONNELLAN: Just the same way that I'm going
to go to the court and make a request with respect to
matters that the Congressman didn't want to answer
today, if you have issues that you would like to take up
with the court in connection with this deposition, you
should do that, too. And then we'll come back and we
will ask questions, and if the court allows you, you can
ask questions and play the deposition -- play the tapes
for the deposition. But --

MR. BISS: He has a right to know what you did
to his family.

MR. DONNELLAN: (Speaking simultaneously)

MR. BISS: That, he has a right to know.

MR. DONNELLAN: He has no right to know this
information because it's covered by a protective order
that you and I are subject to, and our clients are
subject to, and that this would be a violation of the

protective order.

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 9 of 21
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Page 203

THE WITNESS: You asked me questions about
documents that I don't know about and now you're trying
to claim that now we don't have to do that --

MR. DONNELLAN: With all due respect,
Congressman, I can't discuss this with you, this is
between me and your lawyer, and he and I need to work
this out. Okay? So, I'm not going to respond to
anything that you have to say.

THE WITNESS: Well, I also have --

MR. DONNELLAN: If you feel the need to make a
speech, you can make a speech.

THE WITNESS: I'm not making a speech, but you
continue to say that I didn't answer your questions. I
answered every single one of your questions, so I want
to make sure that that's on this deposition. Hopefully,
the judge will read this deposition, 'cause there's
nothing that I didn't answer. Matter of fact, I
answered all your psychobabble questions about things
that have nothing to do, zero relevance whatsoever,
including about trips to the White House. Like what --

MR. DONNELLAN: Every single word that you've
said is reflected in the transcript and he'll have an
opportunity to read it, and your lawyer will have an
Opportunity to point them out to him.

MR. BISS: I'm concerned with what you're trying

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 10 of 21

 
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Page 204

to keep out of the transcript and --

MR. DONNELLAN: Well, take it up with the court.
Take it up with the court, Steve, that's where it
belongs.

MR. BISS: This witness has a right to know
what's on those audiotapes, just like the public does.

MR. DONNELLAN: No, he does not.

MR. BISS: The public has a right --

MR. DONNELLAN: It is subject to a court
order --

(Speaking simultaneously)

MR. DONNELLAN: It's subject to a court order
and it should be taken up with the court.

MR. BISS: Jon, what I find most astounding is,
you represent a member of the press, and here we have a
classic example, maybe another classic example of the
press trying to keep the truth from the people, and
including this witness, trying to keep the truth from
this witness. And he's entitled to know what's on the
audiotapes and to respond to what's on the audiotapes,
as part of his testimony in this case, including on the
question of damages, on the question of --

MR. DONNELLAN: This witness is not even a party
to this case --

MR. BISS: He's a witness.

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 11 of 21
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Page 205

MR. DONNELLAN: -- Steve.

MR. BISS: He's a witness. He's a witness
and --

MR. DONNELLAN: He has no entitlement under this
order to have access to these materials. If you would
like to have a discussion offline about lifting the
protective order so that all materials subject to the
protective order are disclosed, let's have that
discussion.

But for right now, we have a protective order,
it's in place, it's signed by the judge, and if you were
to play this tape right now it would be a violation of
that order.

MR. BISS: Well, I can tell you this, I am --
I'm shocked by this response. I'm shocked by it, but
I'm not surprised. And I'm not going to put myself or
my clients, or the witness, in the position of violating
a federal court order. I'm not going to give you the
satisfaction of preparing a motion for sanctions, but I
will tell you this:

We are definitely, definitely going to the judge
on this, and we're going to seek attorney's fees and
costs for you tying up this deposition. We have a few
more days left to finish up discovery. How am I going

to get to examine this witness on these audioctapes

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 12 of 21

 
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Page 206

because of what you're doing? You're effectively
running out the clock, that's what you're doing here.
And unless you --

MR. DONNELLAN: If you have a valid claim, you
take it up with the court, and I'm sure the court will
give you relief to pursue that questioning if he deems
that it's appropriate, as he's done in other instances
where there's been an appropriate request to push out
the discovery schedule. So, that's certainly your right
and you can make that request. And if the court grants
it, we'll come back and we'll finish it.

MR. BISS: Just so I'm clear, so you're refusing
to go forward with the deposition, you're threatening
me, and perhaps the witness, you're threatening me with
sanctions and other types of remedies if I proceed with
the audiotapes, with showing him and asking him
questions about what's on those audiotapes.

MR. DONNELLAN: I'm not threatening you. I'm
telling you that it would be --

MR. BISS: Sounds like a threat to me.

MR. DONNELLAN: Don't mischaracterize it. I am
telling you that it would be a violation of the court
order and that I will seek relief from the court if you
proceed with that.

MR. BISS: And what other grounds, other than

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 13 of 21

 
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Page 207

what you've stated, what other grounds do you have that
it's a violation of the court order?

MR. DONNELLAN: As I've already told you,
it's -- you can go read the protective order yourself.
It's right in there --

MR. BISS: Well, are there any other grounds --

MR. DONNELLAN: And it's also beyond the scope
of the direct examination to begin with, so it's
completely inappropriate.

MR. BISS: Well, it's definitely not beyond the
scope, but any other grounds under the protective order
that you want to put on the record? This is your
opportunity.

MR. DONNELLAN: I would just direct you to the
protective order, Steve. You've got it. You can read
it. You are a party to it and you were part of putting
it forward to the court. So --

MR. BISS: I don't think it restricts me at all
in the examination of the witness. This witness can
sign a witness assurance declaration and he can receive
any counsel's eyes only information at all. He's a
witness to the deposition. You agree with that, right?

MR. DONNELLAN: No, absolutely not.

MR. BISS: You don't think -- because you called

this witness, I can't show him counsel's eyes only

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 14 of 21
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Page 208

information?

MR. DONNELLAN: Absolutely not. This is my
deposition. This is defendants' deposition. I called
it. I did not show him those materials and I did not
reveal any materials that are subject to the
confidentiality order, whether attorney's eyes only or
under’ any lesser standard. And so, there's no basis for
him to sign, it's not reasonably necessary to the
deposition, and it's beyond the scope of anything that
I've asked about.

THE WITNESS: So, just so I'm clear, so now,
Steve, you don't get to ask me any questions, and
anything that he asked of me, he gets to decide whether
or not it's relevant or not. So, I'm being treated
differently than all the other people that got deposed,
which is totally ridiculous and wrong.

And I don't know what the hell you guys at
Hearst are trying to cover up, but you asked me about
audiotapes, you asked me about notes, you asked me about
documents, so I get a right to see those documents and
hear those tapes, that I now know exist. And if not,
you're keeping them from me, a witness, who you've made
a witness. And you're the one that called me for a
deposition, not Steve.

You asked me 90 percent of questions that are

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 15 of 21

 
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Page 209

not relevant at all to this case, that are completely
just fishing, things that you want to try to push out to
all your fake news people. And now you're threatening
my lawyer with me on the line. You threatened me a
couple times with going to the judge. And then you said
that I didn't answer your questions and you're going to
the judge, so you're full of threats.

But I know this much, those tapes need to get
out. If you continue to hide them, I don't know what my
legal remedies are, but as far as I'm concerned, this
deposition is not complete because of your illegal cover
up and activity here, that continues to cover up your
lies for the sex predator that you sent out to harass my
family.

And now there's actual tapes that exist of this?
I've never heard of them. So, why do I not get to hear
them? I don't know what the court's going to say about
this, but this seems totally unfair, that my lawyer
doesn't get to ask me any questions. This is absurd.
And I don't know what game you think this is, but maybe
you should send ICE out to Hearst winery and Hearst
ranch or something. What a joke.

(Speaking simultaneously)

MR. DONNELLAN: I don't agree with your

ad hominum characterizations, Congressman, but I think

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 16 of 21

 
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Page 210

we can agree --

(Speaking simultaneously).

MR. BISS: Do you think that it's ethical for
you to stop a deposition based on the grounds that the
cross-examination exceeds the scope of your direct? Do
you think that's a legitimate response? I don't think
that's a legitimate response, and I don't think --

MR. DONNELLAN: I think it's a legitimate
response when you're about to violate a protective order
that's been put in place by the court.

MR. BISS: I'm not about to violate anything.
You know I'm not about to violate anything. You know
that the only reason you're doing this is to hide the
truth. That's it.

MR. DONNELLAN: I know, Steve, I know, Steve, TI
understand all the points that you and your client want
to make right now and that's --

MR. BISS: So, why not let us make them? Why
not?

MR. DONNELLAN: No, no, no, no, if you can get
off your soapbox right now, I think we have said what we
have to say for the record, let's close the deposition,
we can take it up with the court, and anything that you
want to say to the court in terms of playing attorneys'

eyes only material that was not covered by this

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 17 of 21

 
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Page 211

deposition, you can make those arguments to the court.

MR. BISS: Hey, Jon, so much for the First
Amendment .

THE WITNESS: Well, hold on a second. I have
another question for my lawyer, since we're still in the
deposition, but I guess you have the right to just shut
it off, you can just shut me off.

So, I want to know, I brought up the goons that
were out in my district that you sent to harass my
constituents. How did those people know of these people
that worked for my family years and years and years ago
unless it was something that my family had provided to
you --

MR. DONNELLAN: I'm going to stop you,
Congressman, and I'm going to --

(Speaking simultaneously)

MR. DONNELLAN: Mr. Biss, would you please
instruct your client to stop with the speeches? There's
no question pending. We're suspending this deposition
at this point.

MR. BISS: Well, the problem is, is that you're
the one who talks about counsel's eyes only and the
protective order, and what he's pointing out is the
hypocrisy of your statement. The fact is, that you sent

goons out to California and you gave them -- you gave

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 18 of 21

 
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Page 212

them counsel's eyes only information. That's his point.

It doesn't -- it's hypocrisy. That's what he's
concerned about. That's what he's trying --

MR. DONNELLAN: This is not the right place for
speeches, okay, we're done. You can take it up with the
court.

MR. BISS: We will, we definitely will take it
up with the court, no question.

MR. DONNELLAN: The deposition is ended.

MR. BISS: Thanks for hiding the truth, Jon,
thanks for trying to hide it. We'll get it out, okay,
we'll get it out.

VIDEO OPERATOR: We are now going off the record
at 4:48 p.m. and this concludes today's testimony given
by Devin Nunes. The total number of media units used
was three and will be retained by Veritext Legal

Solutions. Thank you.

(TIME NOTED: 4:48 p.m.)

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 19 of 21

 

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Page 213

I declare under penalty of perjury
under the laws of the State of
California that the foregoing is true
and correct.

Executed on , 2021, at

 

SIGNATURE OF WITNESS

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 20 of 21

 
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Page 214

STATE OF CALIFORNIA ) ss.

COUNTY OF LOS ANGELES )

I, Lori M. Barkley, CSR No. 6426, do hereby
certify:

That the foregoing deposition testimony taken
before me at the time and place therein set forth and at
which time the witness was administered the oath;

That the testimony of the witness and all
objections made by counsel at the time of the
examination were recorded stenographically by me, and
were thereafter transcribed under my direction and
supervision, and that the foregoing pages contain a
full, true and accurate record of all proceedings and
testimony to the best of my skill and ability.

I further certify that I am neither counsel for
any party to said action, nor am I related to any party
to said action, nor am I in any way interested in the
outcome thereof.

IN WITNESS WHEREOF, I have subscribed my name

this 12th day of August 2021.

LORI M. BARKLEY, CSR No. 6426

 

 

 

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Case 5:20-cv-04003-CJW-MAR Document 138-1 Filed 08/13/21 Page 21 of 21

 
